                                                                                                               Form:defch11

                                  UNITED STATES BANKRUPTCY COURT
                                        Eastern District of Michigan
                                           211 West Fort Street
                                             Detroit, MI 48226


                                             Case No.: 25−43017−prh
                                                   Chapter: 11
In Re: (NAME OF DEBTOR(S))
   Pendy's Restaurant Group, LLC
   20930 Mack Avenue
   Grosse Pointe, MI 48236
Social Security No.:

Employer's Tax I.D. No.:
  88−4045972

                                     NOTICE OF MISSING DOCUMENTS

To the Debtor(s) and Debtor(s) attorney:

Notice is hereby given that the following documents(s) must be submitted on the most current official form as
mandated by the Judicial Conference of the United States within 14 days from the date the bankruptcy petition was
filed:

     Attachment to Voluntary Petition for                       Schedule C − Joint Debtor
     Non−Individuals Filing for Bankruptcy under
     Ch. 11
     Balance Sheet (Small Business Only)                        Schedule D
     Bankruptcy Petition Preparers Notice,                      Schedule E/F
     Declaration and Signature
     Cash Flow Statement (Small Business Only)                  Schedule G
     Chapter 11 Statement of Your Current                       Schedule H
     Monthly Income − Form 122B
     Credit Counseling Certificate                              Schedule I
     Credit Counseling Certificate − Joint Debtor               Schedule J
     Declaration About an Individual Debtor(s)                  Schedule J−2
     Schedules
     Declaration under Penalty of Perjury for                   Schedules A−J
     Non−Individual Debtors
     Declaration under Penalty of Perjury for                   Statement of Attorney for Debtor(s) Pursuant
     Debtor(s) without an Attorney                              to F.R.Bankr.P.2016(b)
     List of Equity Security Holders                            Statement of Financial Affairs
     Income Tax Return                                          Statement of Operation
     Initial Statement About an Eviction Judgment               Statement Regarding Authority to Sign and
     Against You                                                File Petition (Business Only)
     Schedule A/B                                               Summary of Assets and Liabilities
     Schedule C − Debtor                                        Tax ID
The missing document(s) must be filed on or before 4/9/25.




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THIS IS THE ONLY NOTICE YOU WILL RECEIVE: If you fail to timely comply with the requirements set
forth above, the case may be dismissed.


Dated: 3/27/25
                                                        BY THE COURT



                                                        Todd M. Stickle , Clerk of Court
                                                        U.S. Bankruptcy Court




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